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                             UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF NEW YORK


 IN RE TERRORIST ATTACKS ON                                       Civil Action No.
 SEPTEMBER 11, 2001                                           03 MDL 1570 (GBD)(FM)

This document relates to:
          Burnett, et al. v. Al Baraka Inv. & Dev. Corp., et al., Case No. 03-cv-9849 (GBD)(SN)

 DECLARATION OF JOHN M. EUBANKS IN SUPPORT OF PLAINTIFFS’ MOTION
 TO CLARIFY THEIR PLEADINGS RELATED TO MULTIPLE-CAPACITY CLAIMS


          JOHN M. EUBANKS, Esquire, hereby states under penalty of perjury that:

          1.     I am a Member Attorney with the law firm of Motley Rice LLC, attorneys for the

Plaintiffs in the above-captioned matter. I submit this Declaration in support of Plaintiffs’ Motion

to Clarify Their Pleadings Related to Multiple-Capacity Claims in the action titled Burnett, et al.

v. Al Baraka Inv. & Dev. Corp., et al., Case No. 03-cv-9849 (GBD)(SN).

          2.     The sources of my information and the basis for my belief in my statements

contained herein are my personal involvement in this matter, my firm’s representation of the

Burnett Plaintiffs in connection with their claims arising out of the terrorist attacks on September

11, 2001, and conversations with these plaintiffs and other family members of these plaintiffs.

Any matters about which I lack Personal knowledge are asserted herein upon information and

belief.

          3.     The Burnett litigation was initially filed on August 15, 2002 in the United States

District Court for the District of Columbia with Case No. 1:02-cv-01616-JR (D.D.C.). The initial

complaint totaled 259 pages when filed. See ECF No. 1 in the D.C. case.
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       4.      On September 4, 2002, Plaintiffs filed an Amended Complaint in the Burnett

litigation in the United States District Court for the District of Columbia. The Amended Complaint

totaled 495 pages. See ECF No. 3 in the D.C. case.

       5.      On November 22, 2002, Plaintiffs filed a Third Amended Complaint in the Burnett

litigation in the United States District Court for the District of Columbia. The Third Amended

Complaint consisted of a 406-page complaint with the case caption, allegations against the

Defendants, and Counts asserted along with a separate 587-page appendix setting out plaintiff

allegations. See ECF Nos. 26 and 29 in the D.C. case.

       6.      On October 7, 2002, District Judge James Robertson in the United States District

Court for the District of Columbia entered Case Management Order No. 1 which provided, inter

alia, that “Subsequent to the filing of the Third Amended Complaint, plaintiffs may without further

leave of court add or remove parties by listing their names (and numbers) and filing the lists as

supplemental pleadings under Rule 15(d).” See ECF No. 15 in the D.C. case.

       7.      Pursuant to this provision of Judge Robertson’s Case Management Order No. 1, the

Burnett Plaintiffs added lists of new plaintiffs as real parties in interest on the following dates in

the D.C. case: February 21, 2003 (ECF No. 77); May 23, 2003 (ECF No. 155); August 1, 2003

(ECF No. 232); September 5, 2003 (ECF No. 305); September 10, 2003 (ECF No. 313); and

December 19, 2003 (ECF No. 432).

       8.      On January 2, 2004, pursuant to an order from the Judicial Panel on Multidistrict

Litigation, the Burnett case was transferred to the United States District Court for the Southern

District of New York with Case No. 03-cv-9849 (RCC).

       9.      Following transfer to this Court, Plaintiffs filed an addition and removal of parties

pursuant to Judge Robertson’s prior Case Management Order in the D.C. case and Fed. R. Civ. P.



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15(d) on March 10, 2004. This was filed in-person in the Clerk’s Office; however, it does not

currently appear on the docket in this Court either in 03-cv-9849 or the docket for the MDL.

       10.     On June 16, 2004, Judge Casey issued Case Management Order #2 in this MDL.

Pertinent to this motion was paragraph 12 which states, “Addition of parties: Joinder of additional

parties must be accomplished by December 31, 2004. Plaintiffs may without further leave of court

add or remove parties by listing their names and filing the lists as supplemental pleadings under

F.R.C.P. 15(d). The caption in the docket for the Individual Action to which a plaintiff or

defendant has been added or removed will be changed to reflect the names of the parties in the

Individual Actions as amended by the filing. Plaintiffs added by this procedure need not re-serve

defendants who have already been served.” See ECF No. 247.

       11.     On December 31, 2004, the Burnett Plaintiffs sought to file an addition of plaintiffs

pursuant to paragraph 12 of Case Management Order #2; however, the Court’s Electronic Case

Filing System was unavailable to accommodate a software upgrade, so the addition of plaintiffs

was filed on January 3, 2005 when the Court’s Electronic Case Filing System was restored. See

ECF No. 602.

       12.     Whereas certain plaintiffs were added to this litigation by means of lists served on

the Court, these lists included only names, and those names were limited solely to the real party in

interest pursuant to Fed. R. Civ. P. 17(a) in that individuals who were asserting individual claims

in addition to claims as personal representatives for 9/11-decedent estates and/or as legal guardians

of minors of 9/11 decedents were listed solely in their name without setting out these multiple

capacities.




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        13.      The same is true in certain circumstances within the initial Complaint, the Amended

Complaint, and the Third Amended Complaint where allegations for certain plaintiffs did not

incorporate all of the capacities in which they were asserting claims against the Defendants.

        14.      The purpose of Plaintiffs’ instant motion is to provide clarity to the Court of the

identities of all of the parties in the Burnett litigation including setting forth those claims of

personal representatives on behalf of 9/11-decedent estates and in the names of children of 9/11

decedents who were minors at the time their claims were filed by their representatives and who

are now asserting claims in their own right as real parties in interest.

        15.      Exhibit A, attached hereto, includes the following columns that address the multiple

capacities in which the named plaintiffs were pursuing claims while also addressing how those

capacities are broken out.

        16.      The column titled “9/11 Decedent Name” states the name of the individual who

was killed in the terrorist attacks on September 11, 2001 whose death gives rise to the claims in

this litigation for their loved ones and/or their estate.

        17.      The column titled “Plaintiff’s Name Currently named in Complaint” sets forth the

name of the real party in interest whose name was set forth in the pleadings in this case but who

was pursuing claims in multiple capacities.

        18.      The column title “Reference to Plaintiff in Complaint” provides the ECF number

and identifying information for where claims on behalf of the real party in interest were initially

filed in this litigation.

        19.      The column titled “Plaintiff’s Individual Capacity” sets forth the appropriate

capacity caption for the named plaintiff in their individual capacity, e.g., “Edmund William Barry,

Individually, as Spouse of Diane Barry, Deceased.”



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        20.     The column titled “Additional Capacity to be reflected in Amended Caption

identifying the estate representative of 9/11 Decedent” sets forth the capacity of the named plaintiff

as the personal representative of the designated 9/11 decedent’s estate.

        21.     The column titled “Additional Capacity as Parent or Guardian of Previously Minor

Child” sets for the capacity of the named plaintiff at the time their claims were filed as the parent

or guardian of a minor child of the 9/11 decedent.

        22.     The column titled “Name of previously minor child now a plaintiff in their own

right” provides the clarifying caption for those formerly minor children who are proceeding in

their own right as the real party in interest. Certain of these entries continue to have the surviving

parent or guardian bringing the claim on behalf of these formerly minor children as Next of Kin

as claims on behalf of these children were contemplated at filing of their parent’s claim, but they

have not retained counsel as adults to pursue claims on their behalf at the present time.

        23.     Finally, the last column states that each of these claims arise out of wrongful death-

related claims, i.e., they arise from the death of an individual in the terrorist attacks on September

11, 2001.

        24.     Included with this motion is a proposed Order permitting the supplementation of

the Burnett Plaintiffs’ complaint with this clarifying information on the identity of the Plaintiffs

and determining that this clarification relates back to when the real party in interest first filed their

claim in this litigation based on the information provided in Exhibit A.




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Dated: August 17, 2022             /s/    John M. Eubanks
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